                          UNITED STATES DISTRICT COURT
                      FOR THE NORTHERN DISTRICT OF ILLINOIS
                                EASTERN DIVISION


 TYKEIA T. WRIGHT,

      Plaintiff,                                                     1:18-cv-08449

 v.
                                                            Honorable Judge John J. Tharp, Jr.
 PREMIER RECOVERY GROUP,

       Defendant.


                            PLAINTIFF’S INITIAL STATUS REPORT

       Pursuant to Fed. R. Civ. P. 26(f) and this Court’s Case Management Procedures, the

Parties submit the following Joint Initial Status Report.

1.     Nature of the Case

       A.        Parties:

 For Plaintiff                                     For Defendant

 Nathan Charles Volheim (Lead Attorney)
 Taxiarchis Hatzidimitriadis
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       B.       Claims asserted:

       Plaintiff brings Count I of her complaint for alleged violations of the Fair Debt Collection

practices Act (“FDCPA”), 15 U.S.C. § 1692, et seq. Plaintiff alleges that Defendant violated the

FDCPA by unfairly, misleadingly, and harassingly contacting her regarding collection of

consumer debt.

       C.      Legal and factual issue:

               i.      Whether Defendant made false, harassing, and unfair statements to

Plaintiff during the course of its collection activity?

       D.      Relief sought: Plaintiff seeks statutory damages of up to $1,000.00 under the

FDCPA, 15 U.S.C. §1692k(a)(2)(A). Additionally, Plaintiff seeks actual damages under as well

as payment of her attorney fees and costs under the FDCPA, 15 U.S.C. §1692k(a)(3).

2.      Jurisdiction: Plaintiff alleges this action arises under and is brought pursuant to the

FDCPA. Plaintiff alleges subject matter jurisdiction is conferred upon this Court by 15 U.S.C

§1692 et seq. as the action arises under the laws of the United States.

3.     Service: Defendant has been properly served and the time to file a responsive pleading

has elapsed. Plaintiff has filed a Motion for Entry of Default which is currently pending.

4.     Magistrate Judge: Plaintiff consents to proceed before a Magistrate Judge but is

unaware of Defendant’s position.

5.     Motion:

       A.      There is a Motion for Entry of Default currently pending.

       B.      Defendant’s responsive pleading was due January 31, 2019.

6.     Settlement:
       A.     Defendant has not entered the case. However, counsel for Plaintiff has heard

from an attorney who claims to be representing Defendant and a settlement demand was

tendered.

       B.     Plaintiff tendered a settlement demand to Defendant on December 4, 2018.

       C.     Plaintiff is willing to participate in a settlement conference but does not know

Defendant’s position.



Dated: February 8, 2019



s/ Nathan Charles Volheim
Nathan C. Volheim, Esq.
Counsel for Plaintiff
                               CERTIFICATE OF SERVICE

       I, the undersigned, hereby certify that on February 8, 2019, a true and correct copy of the

above and foregoing document was filed with the Court and served on all parties requested

electronic notification.



                                                                              Nathan C. Volheim
                                                                              Nathan C. Volheim
